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                            In the United States District Court
                             for the Southern District of Texas
                                   Corpus Christi Division

    Jason Fasching,

         Plaintiff,

    v.                                                   Civil Action No.2:17-cv-248
    Keon V. Avant and Colonial Freight
    Systems, Inc.,

         Defendants.                                      Jury Demanded


           Defendants’ Notice of Removal and Demand for Jury Trial

To the Honorable United States District Judge:

Come now, Defendants Keon V. Avant and Colonial Freight Systems, Inc.,
and files this their Notice of Removal and Demand for Jury Trial. In sup-
port, the following is provided:

                                          Introduction

Plaintiff Jason Fasching (“Plaintiff”) filed his state court action against de-
fendants in Kleberg County, Texas on May 17, 2017.1 The case was docketed
as Cause No. 17-270-D; Jason Fasching v. Keon V. Avant and Colonial
Freight Systems, Inc.; in the 105th Judicial District Court of Kleberg
County, Texas. Plaintiff’s claims against defendants sound in negligence
and wrongful death.2

This claim relates to a motor vehicle accident occurring on or about May 27,
2015 near Kingsville, Texas. Plaintiff alleges Defendant Keon V. Avant was
driving a tractor-trailer owned by his employer, Defendant Colonial Freight
Systems, Inc., when the truck collided with a vehicle owned and operated
by plaintiff’s mother, Helen Cordaway, at the intersection of Highway 77
and FM 1717. As a result of the collision, Ms. Cordaway allegedly sustained
significant personal injury resulting in her death.

Plaintiff seeks damages for past and future mental anguish, past and future
grief and bereavement, past and future loss of companionship and society,

1   See Exhibit B-1, Plaintiff’s Original Petition.
2   Id. at ¶¶ 12 - 15.
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past and future loss of financial contributions, past and future loss of ser-
vices, past and future loss of advice, loss of inheritance, medical expenses,
and funeral and burial expenses. Plaintiff claims damages in excess of
$1,000,000.3

On or about June 27, 2017, Defendant Colonial Freight Systems, Inc. was
served with a copy of Plaintiff’s Original Petition and citation through the
Texas Department of Transportation. Defendant Keon V. Avant was served
with a copy of Plaintiff’s Original Petition and citation on or about June 27,
2017.

Defendants’ Notice of Removal is timely as it was filed within thirty (30)
days of when Defendants were served.4 Defendants’ Notice of Removal is
timely as it is filed within thirty (30) days of when it was first ascertainable
that this case could be removed based upon diversity jurisdiction. 5 The one
year deadline on removal under 28 U.S.C. 1446(c) has not elapsed.

                                   The Parties

Plaintiff, Jason Fasching, is a citizen of Mexico, Missouri. 6

Defendant, Keon V. Avant, is citizen of Maben, Mississippi.7

Defendant, Colonial Freight Systems, Inc., is foreign corporation incorpo-
rated under the laws of the State of Alabama, with its principal place of busi-
ness in Knoxville, Tennessee.8 It is an Alabama citizen.

                                Basis for Removal

a.          Standard for Removal

Pursuant to 28 U.S.C § 1441, Defendants Keon V. Avant and Colonial
Freight Systems, Inc. removes this action to the United States Southern Dis-
trict Court-Corpus Christi Division. In support of this Notice, defendants
show that there is complete diversity of citizenship between plaintiff and
defendants because plaintiff and defendants are citizens of different states,

3   Id. at ¶ 1.
4   See 28 U.S.C. 1446(b)(1).
5   See 28 U.S.C. 1446(b)(3).
6   Ex. B-1 at ¶ 3.
7   Id. at ¶ 4.
8   Id. at ¶ 5.



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and the amount in controversy exceeds $75,000.00. Removal is appropriate
because it has been sought within thirty (30) days of defendant first ascer-
taining that this suit was removable, and it has been less than one year since
this action was originally commenced.9

b.          Diversity of Citizenship

Diversity jurisdiction depends upon a showing of complete diversity, which
means that none of the plaintiffs may be a citizen of the same state as one
of the defendants.10 A corporate entity is deemed to be a citizen of both the
foreign state in which it is incorporated as well as the location where it
maintains its principal place of business.11

As of the date of filing of this action, and at all times thereafter, up to and
including the present, Plaintiff Jason Fasching is a citizen of the State of
Missouri.12 Defendant Keon V. Avant is a citizen of the State of Mississippi.13
Defendant Colonial Freight Systems, Inc. is a corporation incorporated in
the State of Alabama, with its principal place of business in Knoxville, Ten-
nessee.14 Accordingly, complete diversity of citizenship exists between
plaintiff and defendants.

c.          Amount in Controversy

Removal is additionally appropriate under diversity jurisdiction as the
amount in controversy, exclusive of interest and costs, exceeds $75,000.

Plaintiff’s Original Petition specifically alleges that “…Plaintiff seeks mone-
tary relief over $1,000,000….”15

9 See 28 U.S.C. § 1446(b); see also McCrary v. Kan. City S. RR., 121 F. Supp.2d 566, 570
(E.D. Tex. 2000) (“[T]he removal period does not begin to run until the out of state defend-
ant actually is served and not when the Secretary of State receives the process.”); see also
Monterey Mushrooms, Inc. v. Hall, 14. F. Supp.2d 988, 991 (S.D. Tex. 1998) (when service
is effected on a statutory agent, the removal period begins when the defendant actually
receives the process, not when the statutory agent receives process.”).
10   See Whalen v. Carter, 954 F.2d 1087, 1974 (5th Cir. 1992).

 See 28 U.S.C. § 1332(c)(1); Mullins v. Test America, Inc., 564 F.3d 386, 397 n.6 (5th Cir.
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2009).
12   Ex. B-1 at ¶ 3.
13   Id. at ¶ 4.
14   Id. at ¶ 5.
15   Id. at ¶ 2.



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                       FRCP Rule 38 Jury Demand

A jury trial is demanded on all issues presented in this case.

                           Required Documents

Pursuant to 28 U.S.C § 1446(a) and Rule 81 of the Local Civil Rules for the
Southern District of Texas, defendants attach hereto copies of all pleadings,
process, orders, and other filings in the State Court Action as well as the
State Court Action’s docket sheet. The pleadings, process, orders, other fil-
ings, and docket sheet from the State Court Action are identified in the In-
dex of Matters Being Filed with Removal which appears as Exhibit A.

                             Required Notice

Pursuant to 28 U.S.C. § 1446(d), defendants will promptly provide notice to
all adverse parties and will file a copy of the Notice of Removal with the
Kleberg County District Clerk’s Office.

                                Conclusion

Wherefore, premises considered, Defendants Keon V. Avant and Colonial
Freight Systems, Inc., respectfully requests that the Honorable Court re-
move this action to the United States District Court for the Southern District
of Texas. Defendants additionally pray for such further relief, at either law
or equity, to which they may prove they are justly entitled.



                                     Respectfully submitted,

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                           Certificate of Service

This is to certify that a true and correct copy of the foregoing document, was
electronically filed with the Court and served in accordance with the Federal
Rules of Civil Procedure as well as the Southern District of Texas’ Local
Rules via electronic filing as well as facsimile and certified mail, return re-
ceipt requested on July 18, 2017.

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